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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                CR No. 8:21-cr-00008-CJC

12             Plaintiff,                     I N F O R M A T I O N

13             v.                             [18 U.S.C. §§ 1960(a), (b)(1)(B):
                                              Operating an Unlicensed Money
14   HUGO SERGIO MEJIA,                       Transmitting Business; 18 U.S.C.
                                              § 1956(a)(3)(B): Laundering of
15             Defendant.                     Monetary Instruments; 18 U.S.C.
                                              § 982 and 28 U.S.C. § 2461(c):
16                                            Criminal Forfeiture]
17

18         The Acting United States Attorney charges:
19                                      COUNT ONE
20                        [18 U.S.C. §§ 1960(a), (b)(1)(B)]
21         Beginning in or around May 2018, and continuing until on or
22   about September 3, 2020, in Los Angeles, Orange, and Riverside
23   Counties, within the Central District of California, and elsewhere,
24   defendant HUGO SERGIO MEJIA knowingly conducted, controlled, managed,
25   supervised, directed, and owned an unlicensed money transmitting
26   business affecting interstate and foreign commerce, namely, a virtual
27   ///
28   ///
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 1   currency exchange business, that failed to comply with the money

 2   transmitting business registration requirements under Section 5330 of

 3   Title 31, United States Code, and the regulations thereunder.

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 1                                      COUNT TWO

 2                           [18 U.S.C. § 1956(a)(3)(B)]

 3        On or about March 12, 2020, in Orange County, within the Central

 4   District of California, defendant HUGO SERGIO MEJIA, with the intent

 5   to conceal and disguise the nature, location, source, ownership, and

 6   control of property believed to be the proceeds of specified unlawful

 7   activity, that is, the felonious importation, receiving, buying,

 8   selling, and otherwise dealing in controlled substances punishable

 9   under a law of the United States (“drug trafficking”), knowingly

10   conducted a financial transaction, affecting interstate commerce,

11   involving property represented by a person at the direction of a

12   Federal official authorized to investigate such violations to be

13   proceeds of specified unlawful activity, that is, drug trafficking,

14   namely, the exchange of 14.273 Bitcoin for $82,150 in United States

15   dollars, plus fees (Blockchain transaction ID

16   5a8bab53056c72bc48bef6d80e58a673386472a683328b9d93104bd69753386b).

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 1                               FORFEITURE ALLEGATION

 2                    [18 U.S.C. § 982 and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Section 982(a)(1) and Title 28, United States Code,

 7   Section 2461(c), in the event of the defendant’s conviction of the

 8   offenses set forth in any of Counts One or Two of this Information.

 9        2.    The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)    Any property, real or personal, involved in such

12   offense, and any property traceable to such property, including but

13   not limited to:

14                     i.    $9,820 in U.S. Currency seized from a Santa Ana,

15   California, residence;

16                     ii.   $224,167 in U.S. Currency ($189,187 and $34,980)

17   seized from an Ontario, California residence;

18                     iii. Four 100 ounce Silver Bars seized from

19   defendant’s residence in Ontario, California;

20                     iv.   Ten 10 ounce Silver Bars seized from defendant’s

21   residence in Ontario, California;

22                     v.    Ten 1 ounce Silver Coins seized from defendant’s

23   residence in Ontario, California;

24                     vi.   Various cryptocurrency approximately valued

25   at $30,558.27 seized from defendant; and,

26                     vii. Various cryptocurrency approximately valued

27   at $65,028.77 seized from defendant’s account with Binance.

28              (b)    To the extent such property is not available for

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 1   forfeiture, a sum of money equal to the total value of the property

 2   described in subparagraph (a).

 3         3.   Pursuant to Title 21, United States Code, Section 853(p),

 4   as incorporated by Title 18, United States Code, Section 982(b)(1),

 5   and Title 18, United States Code, Section 982(b)(2), the defendant,

 6   if so convicted, shall forfeit substitute property, if, by any act or

 7   omission of the defendant, the property described in the preceding

 8   paragraph, or any portion thereof: (a) cannot be located upon the

 9   exercise of due diligence; (b) has been transferred, sold to, or

10   deposited with a third party; (c) has been placed beyond the

11   jurisdiction of the court; (d) has been substantially diminished in

12   value; or (e) has been commingled with other property that cannot be

13   divided without difficulty. Substitution of assets shall not be

14   ordered, however, where the convicted defendant acted merely as an

15   intermediary who handled but did not retain the property in the

16   course of the money laundering offense unless the defendant, in

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 1   committing the offense or offenses giving rise to the forfeiture,

 2   conducted three or more separate transactions involving a total of

 3   $100,000.00 or more in any twelve-month period.

 4
                                                 TRACY L. WILKISON
 5                                               Acting United States Attorney
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 7
                                                 BRANDON D. FOX
 8                                               Assistant United States Attorney
                                                 Chief, Criminal Division
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                                                 Racketeering Section
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                                                 BRITTNEY M. HARRIS
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                                                 International Narcotics, Money
17                                               Laundering, and Racketeering
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